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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                :
                                        : 3: 22-CR-00037
          -vs-                          :
                                        : (JUDGE SCHIPP)
THOMAS HARTLEY,                         :
                      Defendant         : (Electronically filed)

                      ENTRY OF APPEARANCE

     Kindly enter my appearance for the United States of America in the

above captioned matter.


                                        Respectfully submitted,

                                        /s/Robert J. O=Hara
                                        ROBERT J. O=HARA
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